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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                  Case No. 1:21-cr-00237-RDM-1

                    Plaintiff,             UNOPPOSED MOTION TO
                                           CONTINUE STATUS CONFERENCE
       vs.

JONATHANPETER ALLEN KLEIN,

                    Defendant.


      The defendant, Jonathanpeter Klein, through counsel, Michelle Sweet, Assistant

Federal Public Defender, moves the Court to enter an Order continuing the status

conference in the above-captioned case until May 13, 2021. A status conference is

currently scheduled for May 7, 2021. The government, through Assistant U.S. Attorney

Christopher K. Veatch, does not oppose the motion.




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       Mr. Klein is charged by Indictment with: conspiracy to defraud the United States;

obstruction of an official proceeding and aiding and abetting; obstruction of law

enforcement during civil disorder and aiding and abetting; destruction of government

property and aiding and abetting; entering and remaining in a restricted building or

grounds, and; disorderly conduct in a restricted building or grounds. CR 1. He has

remained in custody since his arrest and first appearance approximately five weeks ago,

on March 23, 2021.

       The defense anticipates that it will file a motion for release shortly, and recognizes

the need to provide the Court with an adequate time to review and the government time

to respond if necessary, prior to a status hearing.

       RESPECTFULLY SUBMITTED this 5th day of May, 2021.

                                          /s/ Michelle Sweet
                                          Michelle Sweet
                                          Attorney for Defendant




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